        Case
         Case:
             3:16-mc-80263-RS
               17-17393, 10/18/2018,
                                 Document
                                     ID: 11051931,
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                                                   DktEntry:
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                    UNITED STATES COURT OF APPEALS                         FILED
                             FOR THE NINTH CIRCUIT                         OCT 18 2018
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
In re: IN THE MATTER OF THE                     No.   17-17393
SEARCH OF CONTENT STORED AT
PREMISES CONTROLLED BY GOOGLE                   D.C. No. 3:16-mc-80263-RS
INC. AND AS FURTHER DESCRIBED IN                Northern District of California,
ATTACHEMENT A.                                  San Francisco
______________________________
                                                ORDER
GOOGLE LLC, FKA Google, Inc., Non-
Party; Movant,

                Appellant,

 v.

UNITED STATES OF AMERICA,
Miscellaneous party,

                Appellee.

Before: O’SCANNLAIN, BERZON, and IKUTA, Circuit Judges.

      We have received appellant’s September 7, 2018 status report seeking leave

to “lift the stay entered under the August 9, 2018 Order, withdraw Google’s July 3,

2018 Motion to Vacate, remand the case to the district court for further

proceedings, and dismiss this appeal.” Appellant’s September 7, 2018 filing

further states that appellee has no objection to “Google’s motions to withdraw and

dismiss.”

      The motion to withdraw (Docket Entry No. 24) the motion to vacate is



LAB/MOATT
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                                                     10/24/1825, Page 2 of 2



granted. The motion to vacate (Docket Entry No. 13) and the response thereto

(Docket Entry No. 17) are withdrawn. The Clerk shall strike the filings at Docket

Entry Nos. 13 and 17.

      Appellant’s unopposed motion to remand (Docket Entry No. 24) is granted.

We remand this matter to the district court for further proceedings.

      All other pending motions are denied as moot.

      REMANDED.




LAB/MOATT                                2
